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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                              Case No. 08-MD-01916-MARRA

    IN RE: CHIQUITA BRANDS INTERNATIONAL, INC.
    ALIEN TORT STATUTE AND SHAREHOLDER
    DERIVATIVE LITIGATION
                                                              /

    This Document Relates to:

    ATS ACTIONS

    07-60821-CIV-MARRA (Carrizosa)
    08-80421-CIV-MARRA (N. J. Action) (Does 1-11)
    08-80465-CIV-MARRA (D.C. Action) (Does 1-144)
    08-80508-CIV-MARRA (Valencia)
    08-80480-CIV-MARRA (Manjarres)
    10-60573-CIV-MARRA (Montes)
    17-81285-CIV-MARRA (D.C. Action) (Does v. Hills)
    18-80248-CIV-MARRA (John Doe 1)
    ________________________________________________/

        PLAINTIFFS’ OPPOSITION TO DEFENDANT CHIQUITA’S RULE 50
          MOTION FOR PARTIAL JUDGMENT AS A MATTER OF LAW


                                     INTRODUCTION
          Chiquita moved for judgment as a matter of law under Rule 50(a) on

    Plaintiffs’ Article 2356 “hazardous activities” claims. The Court immediately heard

    argument and deferred ruling until after the verdict. Transcript Vol. 27 at 4:2-12:11

    (June 5, 2024). Plaintiffs hereby respond in writing to Chiquita’s Rule 50(a) motion.

          Chiquita’s motion is meritless. There is more than enough evidence for a

    reasonable jury to conclude that Plaintiffs are entitled to relief on their hazardous




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    activity claims.1

          First, there is abundant evidence that Chiquita engaged in “hazardous”

    activities. Chiquita argues that its farming was not a hazardous activity, but that is

    a red herring. Chiquita’s years-long funding of a terrorist organization involved in

    the widespread murder of innocents is at issue, not its agricultural practices. And

    Chiquita’s motion does not contest that its facilitation of the AUC guns and drug

    shipments were hazardous activities, nor could it.

          It should go without saying that providing years of funding to, and importing

    thousands of automatic weapons and millions of rounds of ammunition, facilitating

    kidnappings and smuggling drugs for an incredibly brutal terrorist organization is

    hazardous activity. A reasonable jury could conclude as much.

          Second, Chiquita does not deny that Plaintiffs presented evidence that

    Chiquita’s hazardous conduct was the cause of Plaintiffs’ harm under the

    “causation” standard this Court properly adopted. Instead, it yet again presses the

    same argument for a “but-for” causation standard that the Court has rejected over

    and over again.

          The motion should be denied.2



    1 Chiquita’s motion cannot change its liability; Article 2356 was only one of two

    independent bases upon which the jury held Chiquita liable. DE 3811 at 3-6
    (verdict).
    2 Chiquita complains in a footnote that it was prejudiced by the “revival of the

    Article 2356 claim merely two weeks before trial.” DE 3792 at 1, n.1. There was no
    “revival,” since the claims were never dismissed. The Court clearly stated in its
    opinion denying summary judgment on the 1B bellwether claims that “it is
    unnecessary to reach Plaintiffs’ alternative theory of no-fault civil liability under
    the Colombian Civil Code, premised upon Chiquita’s alleged commission of
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                                        STANDARD

          A motion for judgment as a matter of law may be granted only if “a

    reasonable jury would not have a legally sufficient evidentiary basis to find for the

    [non-moving] party on that issue.” Fed. R. Civ. P. 50(a)(1). “[T]he court must

    evaluate all the evidence, together with any logical inferences, in the light most

    favorable to the non-moving party.” Beckwith v. City of Daytona Beach Shores, 58

    F.3d 1554, 1560 (11th Cir. 1995). The standard mirrors that for summary judgment;

    if reasonable minds could differ as to the import of the evidence, a verdict cannot be

    directed. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-51 (1986).

                                        ARGUMENT

    I.    Whether Chiquita’s activities were “hazardous” is a fact question for
          the jury.

          The Court was correct to submit the question of whether Chiquita engaged in

    hazardous acts to the jury. It is a fact question. Chiquita’s claim that whether its

    conduct was hazardous is a legal question is wrong. Under Colombian substantive

    law, “hazard is a question of facts,” Supreme Court of Justice, Civil Cassation

    Chamber, Verdict of October 25, 1999 (excerpted translation in DE 2345-1 at 97);

    accord DE 3654-6 at 93 (Supreme Court of Justice, Civil Cassation Chamber,

    Verdict of December 19, 2018), and thus under U.S. procedural law, it is for the jury




    ‘hazardous activity’ (funding an illegal notorious terrorist group),” DE 3238 at 82
    n.51, which the Court incorporated into its order denying summary judgment on the
    1A bellwether claims. See DE 3239 at 15.
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    to decide based on the specific facts and evidence. E.g., Proctor v. Fluor Enters., Inc.,

    494 F.3d 1337, 1348 (11th Cir. 2007) (jury decides questions of fact).

          Chiquita’s claim that Florida law controls “because Colombia is a civil law

    country” in which “every issue is decided by the Court” is a non sequitur. DE 3792

    at 3. Although Colombia courts decide facts because there are no jury trials,

    Colombia still distinguishes legal issues from fact issues. As the Court suggested,

    under Chiquita’s approach, the Court, not the jury, would decide all fact issues.

    Transcript Vol. 27 at 9:7-8. Since Colombia views these questions as questions of

    fact, they are jury questions here.

          Even if the Court were to now change its earlier decision and determine that

    whether Chiquita’s conduct is a hazardous activity is a legal question, the result

    should be the same: Chiquita’s acts were hazardous. This is an easy call. Providing

    funding to the AUC while admittedly knowing the funds were being used by violent

    terrorists to, among other things, buy guns, is obviously “hazardous.” Indeed, that is

    why it was a federal crime. Likewise, facilitating the AUC’s gun and drug

    smuggling are also obviously hazardous acts.

    II.   Plaintiffs have presented sufficient evidence to prevail on their
          hazardous activity claims.

          Chiquita asserts that the “undisputed” evidence at trial shows that: (1)

    Chiquita did not engage in any “hazardous” conduct giving rise to liability; and (2)

    there is an insufficient link between Chiquita’s acts and Plaintiffs’ injuries. DE

    3792 at 3-4. They are wrong on both counts.

          A.     Plaintiffs presented evidence at trial from which a jury could

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                 conclude, as the jury did, that Chiquita engaged in hazardous
                 activities.

                 1.     Funding, and facilitating the smuggling of drugs and
                        guns for a brutal terrorist organization are hazardous
                        activities.

          This Court has already held, in charging the jury, that “[a] hazardous activity

    is one that increases risk to members of the community which are beyond those to

    which members of the community are normally exposed.” DE 3810 at 21.3 Abundant

    evidence presented at trial supports the jury’s finding that Chiquita engaged in

    hazardous activities. A few examples should suffice.

          Plaintiffs presented evidence that the AUC was incredibly brutal. Charles

    Keiser acknowledged that they were “engaged in an extremely violent campaign,”

    that “they would kill anybody that they believed to be leftwing sympathizers,” and

    that “the AUC’s tactics were even more brutal than the guerrilla’s tactics.” May 28,

    2024, Trial Transcript at 207:5-20. Mr. Ordman agreed that “the AUC was a very

    well-known organization, known to be violent, known to be involved in drug

    trafficking, known to be involved in kidnap, torture, et cetera.” May 21, 2024, Trial

    Transcript at 208:8-10.

          Nonetheless, Chiquita paid the AUC for at least seven years, as it admitted




    3 Accord Supreme Court of Justice, Civil Cassation Chamber, Verdict of August 24,

    2009 (excerpted in Arrubla Decl., DE 2345-1 ¶ 96) (“Liability reverts to the person
    who carries out an activity that may be seen as generating risks or hazards for the
    community, given that it increases such risks and hazards to which people are
    normally exposed and, therefore, the person who carries out such activities . . .will
    be held liable”); DE 3654-6 at 91 (Supreme Court of Justice, Civil Cassation
    Chamber, Verdict of December 19, 2018).
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    in the Factual Proffer. See Plaintiffs’ Trial Exhibit 583. Moreover, evidence at trial

    demonstrated how these payments increased the AUC’s capacity to carry out its

    brutal campaign of violence. For example, Prof. Oliver Kaplan testified that “one of

    the ways that [the AUC] recruited individuals” was through paying salaries, and

    that Chiquita’s payments in 1997 alone would have covered 40 to 50 percent of

    these salaries for that year. Tr. Vol. 15 at 95:14-96:14. AUC Commander Salvatore

    Mancuso likewise confirmed the AUC paid its foot soldiers $250 to $300 per month

    during the relevant time period. Mancuso Gomez Tr. at 47:16-48:02. The $1.7

    million Chiquita paid to the AUC would have covered 5,666 to 6,800 monthly

    salaries for the AUC’s fighters.

          Given the evidence of the AUC’s brutality and notoriety, and the value the

    payments provided to the AUC, a rational jury could conclude, as the jury did, that

    Chiquita’s payments to the AUC “increase[d] risk to members of the community

    which are beyond those to which members of the community are normally exposed.”

    DE 3810 at 21.

          There was also evidence at trial that Chiquita facilitated the importation of

    guns and ammunition for the AUC, Tr. Vol. 6 at 163:11-164:2, 164:18-165:5, 166:10-

    19, 169:23-170:6; Bello Arrieta Dep. Tr. at 45:18-20, 46:1-6, 46:10-13, 46:16-21,

    46:24, 47:11-48:03, 48:7-9; 48:13-15, 48:18-22, 48:25-49:05, 52:20-21, 52:24-54:4,

    53:7-8, and the export of drugs, Tr. Vol. 6 at 174:16-175:11, 175:22-176:2. A rational

    jury could, as this jury did, credit this evidence and conclude that providing funding

    and guns to a notoriously brutal terrorist organization that murdered thousands of



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    people increased the risk to community members, and therefore is a hazardous

    activity.

                 2.     Chiquita’s arguments that it did not engage in hazardous
                        activities are meritless.

           Chiquita’s surprising claim that its acts were not “hazardous” is predicated

    on a number of errors. First, Chiquita misstates the law by asserting that a

    “hazardous” activity must involve an “extraordinary” hazard or risk. DE 3792 at 4.

    Chiquita has already made this argument in its proposed jury instructions, DE

    3653 at 111, and the Court rejected it in charging the jury that a hazardous activity

    is one that increases risk to community members beyond those to which they are

    normally exposed. DE 3810 at 21.

           And with good reason. As the doctrine’s name demonstrates, liability is based

    “hazardous” or “dangerous” activities, not “extraordinarily” hazardous activities.

    Chiquita’s gloss of “extraordinary” is not supported by the authorities. Chiquita

    cites its expert who, in turn, cites a sentence from an 86-year-old Colombian case

    dating to the early days of the hazardous-activity doctrine. DE 3792 at 4 (citing DE

    3653-1 at ¶ 9). Moreover, that language does not purport to say that a “hazardous

    activity” must actually be an “extraordinarily hazardous activity”; it merely lists

    some activities and remarks that they “inherently have extraordinary dangers.” DE

    3653-1 at ¶ 9. Subsequent Colombian caselaw does not add the “extraordinary”

    requirement that Chiquita seeks.4 As even Chiquita acknowledges, activities as



    4 See, e.g., DE 3654-6 at 90 (Supreme Court of Justice, Civil Cassation Chamber,

    Verdict of December 19, 2018) (“[T]his court has referred to risk, to the potential
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    mundane as “operating . . . an automobile” have been found to be hazardous

    activities. DE 3792 at 4 (quotation marks omitted). Chiquita’s expert agrees. See

    Santos Decl., DE 3653-1 ¶ 11 (“driving a vehicle” is a hazardous activity”). There is

    nothing “extraordinary” about driving a car.

          Second, Chiquita lists examples of hazardous activities, for no apparent

    reason. DE 3792 at 4-5.5 Chiquita does not claim that the doctrine is limited to

    these examples. It is not. And the examples show by comparison that the conduct

    here is hazardous; a rational jury could conclude that providing money to known

    terrorists and helping them smuggle weapons and narcotics is at least comparable –

    if not far more dangerous – than the examples Chiquita gives.

          As Defendant’s expert noted in his report, a wide range of activities have

    been found to be hazardous activities, including not only “driving a vehicle,” but

    also activities like “operating a train,” and “constructing infrastructure.” DE 3653-1

    (Santos Ballesteros Report) ¶ 11. Other examples discussed in the caselaw include

    “the use of a tractor” and “operation of elevators.” DE 3654-6 at 89-90 (Supreme



    danger inherent to the thing or activity, to the imbalance and multiplication of
    forces and energies, to the inability to control them in order to prevent their effects,
    among the most usual topics.”); Supreme Court of Justice, Civil Cassation Chamber,
    Verdict of August 24, 2009 (“Liability reverts to the person who carries out an
    activity that may be seen as generating risks or hazards for the community . . . .”
    (excerpted in Arrubla Decl., DE 2345-1, ¶ 96)).
    5 It notes that hazardous activities “include[] activities such as maintaining ‘a

    warehouse for flammable substances, an explosive factory,’ or operating ‘a railway
    or an automobile.’” Id. (quoting DE 3653-1 ¶¶ 7-9; 19). Chiquita also states that
    Article 2356 gives three examples: (1) recklessly firing a gun; (2) removing the slabs
    of a ditch without the necessary precautions to prevent persons from falling in; and
    (3) leaving a fountain, which crosses a road, in such a state as to cause harm to
    travellers. Id.
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    Court of Justice, Civil Cassation Chamber, Verdict of December 19, 2018). These

    examples show that the jury’s finding that Chiquita engaged in hazardous activity

    was well founded. Providing support to paramilitary terrorists is clearly more

    hazardous than driving.

          Chiquita proposed including these examples in the jury instructions. DE 3653

    at 111; see also DE 3654 at 11. The Court declined to do so. DE 3810 at 21-23.

    Nothing about the examples suggests the Court should now overturn the jury’s

    verdict.

          Third, Chiquita defines its own conduct at a level of generality that would

    render the hazardous activity doctrine meaningless. Chiquita argues that its

    “agricultural activities” are not hazardous, as if the jury found Chiquita liable for

    merely growing bananas. DE 3792 at 5. Chiquita also claims that transferring

    money can never be a hazardous activity, as a matter of law. Id. But one hazardous

    activity here is not “transferring money,” it is funding an extremely violent terrorist

    group. And what about the guns and drugs? Facilitating those shipments are

    obviously hazardous acts.6

          No activity is inherently dangerous when defined at the level of generality

    Chiquita uses here. For example, the Colombian Supreme Court has found that

    “transporting hydrocarbons is dangerous.” DE 3654-6 at 96 (Supreme Court of

    Justice, Civil Cassation Chamber, Verdict of December 19, 2018). At Chiquita’s




    6 Chiquita “does not concede” this, but apparently does not contest it here either.

    DE 3792 at 6, n.4.
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    level of generality, however, that could be described as “transporting commodities,”

    which disguises the central fact that oil and gas are particularly dangerous.

    Likewise, one could say that “turning a wheel” or “moving one’s finger” are not

    inherently dangerous, but steering a vehicle or pulling a trigger obviously are.

          Here again, Chiquita tries to revive the same arguments the Court has

    already rejected in crafting the jury instructions. DE 3653 at 111-12; DE 3654 at 14-

    15; DE 3810 at 21-23. The Court was right then, and there is no basis to overturn

    the jury’s decision now.

          Fourth, Chiquita’s claim that even if it assisted the AUC’s terrorist acts, that

    does not show that Chiquita’s activities were hazardous is wrong. DE 3792 at 5.

    Chiquita cites back to its expert’s discussion of caselaw regarding club owners that

    failed by their omissions to prevent terrorist acts; the same discussion Chiquita

    presented in support of its jury instruction that the Court rejected. Id. (citing DE

    3653-1 ¶¶ 17-18. But Chiquita was no passive bystander that failed to intervene to

    stop the AUC’s terrorism. The evidence demonstrated, and the jury found, that

    Chiquita knowingly and actively facilitated the AUC’s reign of terror. That is a

    hazardous act. A defendant that foreseeably enables terrorist violence is liable to

    the victims of that violence. See DE 3654-6 at 127-28 (Supreme Court of Justice,

    Civil Cassation Chamber, Verdict of December 19, 2018)(finding oil pipeline

    operator liable under the hazardous-activity doctrine for damage caused by a

    terrorist attack on the pipeline because the attack “should have been foreseen”).




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          Last, Chiquita argues that Plaintiffs offered no expert testimony about

    whether Chiquita’s activities were hazardous. But this is a question a jury can

    determine for itself. A jury does not need an expert to tell it that providing guns and

    money to terrorist organization is dangerous. Regardless, Plaintiffs did present

    expert testimony on the extreme danger the AUC posed to the local civilian

    population and the extent to which Chiquita’s payments increased its capacity to

    commit violence. See generally Tr. Vol. 14 at 110:15-124:3; see also Tr. Vol. 15 at

    95:14-96:14.

          B.       Plaintiffs presented sufficient evidence to support the jury’s
                   finding of an adequate causal link between Chiquita’s acts and
                   the murders of Plaintiffs’ loved ones.

          Chiquita’s claim that Plaintiffs did not show a sufficient causal link between

    Chiquita’s acts and the murders again recycles arguments this Court has already

    rejected.

          Chiquita argues that “Plaintiffs must prove that the harm to Plaintiffs and

    their decedents would not have occurred but for Chiquita’s conduct.” DE 3792 at 7.

    But this Court has repeatedly rejected Chiquita’s proposed “but for” causation

    standard. E.g., 4/24/2024 Tr. at 5 (“Plaintiffs do not have to prove that without the

    assistance or support of Chiquita's, either monetary or other types of contribution

    that they may have made to the AUC, that the deaths would not have occurred.”);

    DE 3238 at 77. Indeed, this Court specifically stated “I am not changing my ruling

    on that.” 4/24/2024 Tr. at 5.

          Chiquita raised the same but-for causation argument it raises here in its

    proposed hazardous activity jury instruction, DE 3653 at 112-13, DE 3654 at 9-11,
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    15-16, but the Court rejected it. DE 3810 at 21-23. Chiquita nonetheless claims that

    this Court’s ruling that “but for” causation is not required under Article 2341 does

    not apply to Article 2356. But Chiquita cites no authority suggesting that a

    hazardous activity claim somehow requires a more stringent nexus showing than an

    Article 2341 claim. To the contrary, in its own proposed jury instruction, Chiquita

    asserted that “[w]ith respect to causation, the same law that applies to liability for

    negligence applies to liability for strict liability.” DE 3653 at 112. The Court applied

    the same standard to both claims. DE 3810 at 17-18, 21-23.

          Chiquita also repeats its claim from its proposed jury instruction that if a

    third-party’s actions are the cause of the harm, a defendant’s liability is negated or

    absolved. DE 3792 at 7; DE 3653 at 113; DE 3654 at 16-17. But that argument is

    plainly inconsistent with Colombian law and, furthermore, the Court did not accept

    that argument either. DE 3810 at 21-23.

          Here, as in its jury instruction argument, Chiquita misleadingly excerpts a

    quotation cited by Plaintiffs’ expert Jaime Alberto Arrubla-Paucar, DE 2363-1, ¶ 96,

    and takes it out of context.7 Justice Arrubla clearly concludes his analysis in

    paragraphs following the excerpted quotation:

          In my judgment, the fact that certain persons finance, arm or actively
          support illegal groups supposes the creation of hazards for the
          community, insofar as these activities increase the level of risk to
          which people are normally exposed. Accordingly, such persons may be
          liable for the damages that such groups caused to the victims, …



    7 The decision Arrubla is quoting makes the undisputed point that there is no need

    to prove “fault” in a Hazardous Activities claim and that a defendant needs to follow
    the normal rules of making out the elements of a proper defense.
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          An example of an illicit hazardous activity is the financing or
          sponsorship of illegal armed groups …

          It will suffice for the victim to prove the hazardous activity carried out
          by the agent and the damages suffered by the victim.

    Arrubla Decl., DE 2363-1, ¶¶ 100, 102. Justice Arrubla’s declaration, taken as a

    whole, fully supports the proposition that financing terror is a hazardous activity

    and that victims may recover against the financier for the damages caused by the

    terror group.

          Chiquita’s argument that a third party’s involvement “negates” or “absolves”

    liability is refuted by its own authority, as Plaintiffs explained during the debate

    over the jury instructions. June 5, 2024 Tr. at 6:7-8:1. The Colombian Supreme

    Court, interpreted Article 2356 (Hazardous Activity) to impose liability on an oil

    pipeline operator for damages caused by a third party – in that case, the FARC. DE

    3654-6 at 127-28 (Supreme Court of Justice, Civil Cassation Chamber, Verdict of

    December 19, 2018). The Supreme Court found the pipeline operator liable under

    the hazardous activity doctrine for damage caused by the FARC’s terrorist attack on

    the pipeline, specifically concluding that the pipeline could not prove its asserted

    defense because the guerrilla attacks were foreseeable.8

          Chiquita provides no reason for the Court to reconsider its jury instruction

    rulings here. It just cites the same materials the Court has already found


    8 The Colombian court analyzed the extraneous cause defense, which Chiquita does

    not deny is an affirmative defense. See Santos Ballesteros Decl., DE 3574-4 ¶ 70;
    Rueda Decl., DE 3572-2 ¶ 30; Arrubla Decl. DE 2363-1, ¶ 97-98; DE 3792 at 7, n.6.
    The affirmative defense of duress or coercion is conceptualized within and has the
    same elements as extraneous cause. Rueda Decl., DE 3572-2, ¶ 35; accord Arias
    Decl, DE 2769-4 ¶¶ 18, 20, 22-40.
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    unpersuasive when it crafted the jury instructions. DE 3792 at 6-7.

           Here, it is undisputed that the AUC’s terrorism was well known, and it was

    thus foreseeable that the AUC would use the resources Chiquita gave to it to

    further its terroristic goals, as the jury found. DE 3811 at 5 (“Did the Plaintiffs

    prove by a preponderance of the evidence that in conducting a hazardous activity,

    Chiquita knowingly provided substantial assistance to the AUC sufficient to create

    a foreseeable risk of harm to others, including that Plaintiff’s relative? YES”).

          Chiquita’s other arguments are equally meritless. It half-heartedly claims

    there is no evidence as to who murdered Plaintiffs’ loved ones. DE 3792 at 8. But as

    the jury found, there is abundant evidence that it was the AUC. See e.g. Tr. Vol. 11

    at 73:16-74-7, 77:15-24; Tr. Vol. 12 at 37:4-15; Vol. 14 at 139:24-140:10. There is

    also ample evidence, as discussed above, from which a rational jury could, as this

    jury did, conclude that providing funding and guns to a notoriously brutal terrorist

    organization that murdered thousands of people increased the risk to community

    members, and therefore is a hazardous activity.

                                       CONCLUSION

          Chiquita has provided no basis for the Court to reverse its prior decisions or

    upend the jury’s considered judgment. Chiquita’s Rule 50(a) motion should be

    denied.

          Dated: June 14, 2024                      Respectfully submitted,

                                                    /s/ Richard Herz__
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